      Case MDL No. 3100 Document 384 Filed 02/13/24 Page 1 of 22




                            BEFORE THE
                   UNITED STATES JUDICIAL PANEL
                   ON MULTIDISTRICT LITIGATION




IN RE: REAL ESTATE COMMISSION                MDL No. 3100
ANTITRUST LITIGATION




         INTERESTED PARTY PLAINTIFF ROBERT FRIEDMAN’S
       RESPONSE IN OPPOSITION TO MOTION FOR TRANSFER OF
    FRIEDMAN V. THE REAL ESTATE BOARD OF NEW YORK, INC., ET AL.,
        NO. 1:24-CV-00405 (S.D.N.Y.), PURSUANT TO 28 U.S.C. § 1407
               Case MDL No. 3100 Document 384 Filed 02/13/24 Page 2 of 22




                                                    TABLE OF CONTENTS

I.     INTRODUCTION .................................................................................................................. 2

II.    BACKGROUND .................................................................................................................... 3

          A.         The Umpa and Gibson Cases allege a nationwide conspiracy by NAR-
                     member firms to inflate buyer broker commissions on MLSs pursuant to
                     NAR Rules. ............................................................................................................. 3

          B.         The REBNY Cases allege a conspiracy by REBNY-member firms to inflate
                     buyer broker commissions in New York City on the RLS pursuant to
                     REBNY Rules. ........................................................................................................ 4

          C.         REBNY rules are substantively different from NAR rules. .................................... 5

          D.         There is no overlap between the putative classes in the NAR actions and the
                     REBNY Cases. ......................................................................................................... 6

          E.         After more than four years of litigation in separate cases concerning NAR
                     rules, Movants seek to centralize and consolidate all buyer broker
                     commission-related antitrust litigation, no matter the facts. ................................... 7

          F.         NAR seeks to centralize the REBNY Cases in the Northern District of
                     Illinois, despite having admitted that REBNY has nothing to do with NAR. ........ 8

III. ARGUMENT .......................................................................................................................... 8

          A.         There are no common questions of fact between the cases involving NAR
                     rules and the REBNY Cases..................................................................................... 9

          B.         Convenience of Parties and Witnesses Weighs Heavily Against Transfer ............ 13

          C.         Centralizing the REBNY Cases with the NAR actions would not be just or
                     efficient. ................................................................................................................ 15

                     1.         The plaintiffs in the REBNY Cases are Not Members of Any Current
                                Settlement Class That Might Favor Consolidation. .................................. 15

IV. CONCLUSION ..................................................................................................................... 17




                                                                        i
              Case MDL No. 3100 Document 384 Filed 02/13/24 Page 3 of 22




                                            TABLE OF AUTHORITIES

Cases
In re Baby Food Mktg., Sales Pracs. & Prod. Liab. Litig.,
   544 F. Supp. 3d 1375 (J.P.M.L. 2021) ........................................................................................ 9

In re Credit Union Checking Acct. Overdraft Litig.,
   158 F. Supp. 3d 1363 (J.P.M.L. 2016)...................................................................................... 13

In re CVS Caremark Corp. Wage & Hour Emp. Pracs. Litig.,
   684 F. Supp. 2d 1377 (J.P.M.L. 2010)...................................................................................... 12

In re Deere & Co. Repair Servs. Antitrust Litig.,
   607 F. Supp. 3d 1350 (J.P.M.L. 2022) ...................................................................................... 15

In re Fed. Hous. Fin. Agency, et al., Preferred Stock Purchase Agreements Third Amend.
   Litig.,
   190 F. Supp. 3d 1356 (J.P.M.L. 2016) ...................................................................................... 10

In re Hotel Industry Sex Trafficking Litig.,
   433 F. Supp. 3d 1353 (J.P.M.L. 2020) ...................................................................................... 13

In re SFPP, LP, R.R. Prop. Rights Litig.,
   121 F. Supp. 3d 1360 (J.P.M.L. 2015) ...................................................................................... 10

In re: Credit Card Payment Prot. Plan Mktg. & Sales Pracs. Litig.,
   753 F. Supp. 2d 1375 (J.P.M.L. 2010) ........................................................................................ 9

In re: Credit Default Swaps Antitrust Litig.,
   978 F. Supp. 2d 1374 (J.P.M.L. 2013) ...................................................................................... 15

In re: Facebook, Inc., Consumer Privacy User Profile Litig.,
   325 F. Supp. 3d 1362 (J.P.M.L. 2018) ...................................................................................... 13

In re: Google Play Store Simulated Casino-Style Games Litig.,
   544 F. Supp. 3d 1364 (J.P.M.L. 2021) ...................................................................................... 13

In re: Nat’l Ass’n for Advancement of Multijurisdictional Prac. Litig.,
   52 F. Supp. 3d 1377 (J.P.M.L. 2014) ........................................................................................ 10

In re: Unilever Aerosol Prods. Mktg., Sales Practices, & Prod’s Liab. Litig.,
   No. MDL 3068, 2023 WL 2875972 (J.P.M.L. Apr. 7, 2023) .................................................... 17

In re: Yellow Brass Plumbing Component Prod. Liab. Litig.,
   844 F. Supp. 2d 1377 (J.P.M.L. 2012).......................................................................................11




                                                                ii
                Case MDL No. 3100 Document 384 Filed 02/13/24 Page 4 of 22




National Association of Realtors v. Champions Real Estate Services Inc., et al.,
  No. 10 Civ. 00049, 2011 WL 4803013, at *1 (W.D. Wash. Aug. 29, 2011) ............................... 3

Secondary Ticket Mkt. Refund Litig.,
  481 F. Supp. 3d 1345 (J.P.M.L. 2020) ........................................................................................ 9

Statutes
28 U.S.C. § 1407 .................................................................................................................... passim

28 U.S.C. § 1407(a) .................................................................................................................. 8, 13

Rules
J.P.M.L. Rule 6.2(d) ........................................................................................................................ 1

Docketed
Bauman v. MLS Property Information Network, Inc.,
  No. 20-cv-12244 (D. Mass.) ....................................................................................................... 7

Burnett v. Nat’l Ass’n Realtors,
  No. 19-cv-332 (W.D. Mo.).......................................................................................... 7, 8, 15, 16

Friedman v. The Real Estate Board of New York, Inc., et al.,
  No. 1:24-cv-00405 (S.D.N.Y.) ........................................................................................... passim

Gibson, et al. v. Nat’l Ass’n of Realtors, et al.,
  No. 23-cv-0788 (W.D. Mo.)............................................................................................... passim

March v. Real Estate Board of New York, Inc., et al.,
 No. 1:23-cv-09995 (S.D.N.Y.) ........................................................................................... passim

Moehrl v. Nat’l Ass’n of Realtors,
 No. 1:19-cv-01610 (N.D. Ill.) ............................................................................................ passim

Umpa v. Nat’l Ass’n of Realtors, et al.,
 No. 23-cv-0945 (W.D. Mo.)............................................................................................... passim




                                                                      iii
           Case MDL No. 3100 Document 384 Filed 02/13/24 Page 5 of 22




       Interested Party is Robert Friedman, plaintiff in the action Friedman v. The Real Estate

Board of New York, Inc., et al., No. 1:24-cv-00405 (S.D.N.Y.) (“Friedman”), pending in the United

States District Court for the Southern District of New York and proceeding in coordination with

the related action March v. Real Estate Board of New York, Inc., et al., No. 1:23-cv-09995

(S.D.N.Y.) (“March,” and together with Friedman, the “REBNY Cases”).1 Friedman respectfully

submits this Interested Party Response in Opposition to the Motion for Transfer of Actions to the

Western District of Missouri Pursuant to 28 U.S.C. § 1407 filed by plaintiffs in Gibson, et al. v.

Nat’l Ass’n of Realtors, et al., No. 23-cv-0788 (W.D. Mo., filed Oct. 31, 2003) and Umpa v. Nat’l

Ass’n of Realtors, et al., No. 23-cv-0945 (W.D. Mo., filed Dec. 27, 2023) (collectively,

“Movants”), ECF No. 1-1 (“Movants’ Br.”), as well as the alternative proposal set forth in the

Response of Defendant National Association of Realtors® in Support of Transfer of Actions to the

Northern District of Illinois for Coordinated or Consolidated Pretrial Proceedings Pursuant to

28 U.S.C. § 1407, ECF No. 295 (“NAR Br.”).2




   1
      Friedman was initially filed on December 29, 2023 in the Eastern District of New York.
Upon reaching an agreement with counsel in March to coordinate the REBNY Cases for pretrial
purposes, Friedman was voluntarily dismissed without prejudice and refiled in the Southern
District of New York as a related action to March. Counsel are currently in the process of seeking
formal coordination in the Southern District of New York.
   2
      Friedman is not among the cases that the Movants seek to consolidate. Friedman was first
identified as a potential tag-along action by the National Association of Realtors® (“NAR”) which
is not a defendant in Friedman—in NAR’s opposition brief filed on January 23, 2024. See ECF
Nos. 197, 204. Counsel for Friedman was first notified via Notices of Electronic Filing from the
J.P.M.L. that Friedman had been identified as a potential tag-along action on January 26, 2024.
Because NAR is not a defendant in Friedman, and NAR’s counsel has not appeared in that action—
and because no defendant in Friedman has identified Friedman as a potential tag along to cases
identified by Movants—Friedman has not been properly identified as a potential tag along action
in this proceeding. See J.P.M.L. Rule 6.2(d) (limiting who may designate an action as a potential
tag along to a “party” that is named in the action or “in which that [party’s] counsel appears”).


                                                1
            Case MDL No. 3100 Document 384 Filed 02/13/24 Page 6 of 22




I.     INTRODUCTION

       The Plaintiffs and every Defendant in the REBNY Cases agree on one thing: the Real Estate

Board of New York, Inc. (“REBNY”), its rules, and REBNY’s Residential Listing Service (“RLS”)

have nothing to do with NAR, NAR’s rules, or NAR-owned or affiliated Multiple Listing Services

(“MLSs”).    The REBNY Cases involve a separate, alleged unlawful conspiracy between

competitors than the conspiracy alleged in the NAR cases. On their face, the putative classes in

Umpa and Gibson do not overlap with those of the REBNY Cases. Consequently, the REBNY

Cases should remain in the Southern District of New York before the Hon. Jessica G. L. Clarke.

       REBNY and the RLS have zero affiliation with NAR; neither Movants, NAR, nor any

Defendant contends otherwise. REBNY operates only in the five boroughs of New York City.

Listings on the RLS, which is not an MLS, are only for properties located in New York City—

principally in Manhattan and the Brooklyn neighborhoods at issue in the REBNY Cases.

       REBNY promulgates and enforces an entirely separate set of rules from the NAR rules in

these areas of New York City that yield inflated buyer broker commission rates, as distinguished

from other areas of New York City where a dominant NAR-affiliated MLS imposes NAR rules

that yield competitive commission rates. Indeed, real estate brokers are obliged to follow only

REBNY’s rules, not NAR’s, when transacting through the RLS; REBNY and other named

defendants in both the REBNY Cases and Movants’ cases make this clear here. Accordingly, there

are no common questions of fact between the REBNY Cases and the Movants’ cases against NAR:

the alleged anticompetitive scheme, its effects, and resulting damages in each set of cases requires

separate proof.

       Nor is consolidation convenient for the parties or witnesses in the REBNY Cases, all of

which are located in New York City or its metropolitan area—half a continent away from Movants’

and NAR’s proposed venues. Movants provide no basis to find that consolidating the REBNY


                                                 2
               Case MDL No. 3100 Document 384 Filed 02/13/24 Page 7 of 22




Cases with NAR-related actions would be just or efficient. Judicial Panel on Multidistrict

Litigation jurisprudence is clear that centralization is improper where alleged conspiracies are

unrelated, even if they occur in the same industry and share facial similarities.

          Regardless of whether this Panel agrees to form an MDL to consolidate NAR-related

cases,3 Plaintiff Friedman respectfully requests that this Panel deny transfer of the REBNY Cases

outside the Southern District of New York.

II.       BACKGROUND

          A.     The Umpa and Gibson Cases allege a nationwide conspiracy by NAR-member
                 firms to inflate buyer broker commissions on MLSs pursuant to NAR Rules.

          NAR is “one of the largest lobbying groups in the country, advocating for the interests of”

its member real estate brokers. Umpa Class Action Compl. (“Compl.”) ¶ 29. NAR members are

referred to as “Realtors,” a term that is trademarked by NAR and refers only to NAR members.

See National Association of Realtors’ Trial Brief, National Association of Realtors v. Champions

Real Estate Services Inc., et al., No. 10 Civ. 00049, 2011 WL 4803013, at *1 (W.D. Wash. Aug.

29, 2011) (“The Association owns the federally-registered collective service trademarks

REALTOR® and REALTORS®. The REALTOR® Marks are used to identify members of the

Association who provide real estate-related services consistent with a strict Code of Ethics and the

highest standards of professionalism.”) (citations omitted).

          NAR’s “Realtors” list properties for sale on MLSs overseen and/or operated by NAR. An

MLS, also a NAR trademark,4 is a “database of properties listed for sale in a defined region that

[is] accessible to real estate brokers and their individual realtors that agree to comply with the rules


     Plaintiff Robert Friedman takes no position on whether cases alleging a separate antitrust
      3

conspiracy through NAR and involving NAR’s rules should be consolidated.
     See, e.g., MLS Service Mark Logo, https://www.nar.realtor/logos-and-trademark-rules/mls-
      4

service-mark-logo (last accessed Jan. 22, 2024)


                                                   3
            Case MDL No. 3100 Document 384 Filed 02/13/24 Page 8 of 22




of the MLS.” Umpa Compl. ¶ 57. NAR promulgates its own rules that govern the conduct of its

member Realtors when offering or accessing listings on an MLS. Umpa Compl. ¶¶ 24, 66.

       B.     The REBNY Cases allege a conspiracy by REBNY-member firms to inflate
              buyer broker commissions in New York City on the RLS pursuant to REBNY
              Rules.

       REBNY is a “not-for-profit real estate trade association . . . that operates only in the five

boroughs of New York City.” REBNY and the REBNY RLS’s Brief in Opposition to Plaintiffs’

Motion for Transfer to the Western District of Missouri Pursuant to 28 U.S.C. § 1407 For

Coordinated or Consolidated Pretrial Proceedings (“REBNY Br.”) at 1, ECF No. 266. REBNY

maintains a dominant presence in Manhattan and certain more expensive neighborhoods of

Brooklyn. Friedman Class Action Compl. (“Friedman Compl.”) ¶¶ 34-40.

       REBNY has had no affiliation with NAR since 1994. Friedman Compl. ¶ 51.5 As alleged

in the REBNY Cases—and as acknowledged by REBNY, Compass, Inc., and Movants

themselves—REBNY operates its own listing service, called RLS, which is not an MLS associated

with NAR.6 Id. ¶ 49; REBNY Br. at 3 (the RLS is “not a traditional multiple listing service”);

Friedman Compl. ¶ 49 (citing Compass antitrust complaint against REBNY alleging that the RLS

is not an MLS and REBNY “thus operates the REBNY RLS independently from the National

Association of Realtors.”); Umpa Compl. ¶ 110 (acknowledging that RLS is not licensed or

controlled by NAR and describing it as “MLS-like.”). As alleged in the REBNY Cases—and

echoed by REBNY and other defendants in the REBNY Cases here—REBNY has its own set of


   5
     See also REBNY Br. at 1 (“REBNY and RLS have no affiliation with [NAR], and do not use
the NAR Rules, the NAR Handbook on Listing Policy (the ‘NAR Handbook’) or the NAR Code
of Ethics”).
   6
     See NAR, MLS & Online Listings, https://www.nar.realtor/mls-online-listings (last accessed
Feb. 12, 2024) (treating “MLS” as a proprietary term unique to NAR and explaining MLSs “use a
common set of rules to enable a smooth exchange of information in their local communities”
among “REALTORS®” (emphasis added)).


                                                4
            Case MDL No. 3100 Document 384 Filed 02/13/24 Page 9 of 22




governing rules, to which member brokerage firms must agree in writing to list properties on the

RLS. Friedman Compl. ¶ 51; REBNY Br. at 4 (REBNY and RLS maintain their own rules and

“have no affiliation with NAR, and they have not adopted NAR’s Rules, the NAR Handbook or

NAR’s Code of Ethics”).7

       C.      REBNY rules are substantively different from NAR rules.

       NAR rules explicitly require “every listing broker (i.e., the broker representing the seller)

when listing a property on a Multiple Listing Service, to make a ‘blanket unilateral offer[] of

compensation’ to any broker who may work with a buyer in purchasing that property.” Umpa

Compl. ¶ 3. By contrast, the REBNY rules imposed a mandatory default that the buyer and seller

broker each “receive ‘an equal share [i.e., half] of the commission,’ paid entirely by the Seller.”

Friedman Compl. ¶ 54. To enforce this default rule, REBNY rules mandate that, to the extent a



   7
      See also ECF No. 304, at 2 (Douglas Elliman: REBNY rules are “entirely different” from
NAR’s and REBNY and RLS “have zero affiliation with NAR, and are both limited to New York
City”); ECF No. 296, at 2, 5 (Compass: REBNY is “a trade association that is not affiliated with
the National Association of Realtors and thus operates under a completely separate and unique set
of rules” and “REBNY members would be subject to a completely different set of rules that have
nothing to do with NAR”); ECF No. 257 (“BHS Br.”) at 2 (Brown Harris Stevens: REBNY “has
its own unique rules, constitution, and listing exchange [RLS]” and that REBNY members “are
not party to rules promulgated by NAR that are the subject of the NAR Actions”); ECF No. 272,
at 5-6 (Engel & Volkers New York Real Estate LLC: “neither March nor Friedman involve either
‘rules adopted by’ NAR or an MLS”); ECF No. 305, at 1 (Leslie J. Garfield is “subject to the
specific and unique listing agreement promulgated by REBNY, and does not participate in any
rules or fee arrangements promulgated by the National Association of Realtors, including with
respect to broker commissions”); ECF No. 276, at 2 (CORE Group Marketing LLC: “REBNY
does not have any affiliation with [NAR], and does not use the NAR Rules, the NAR Handbook
on listing Policy . . . or the NAR Code of Ethics”); ECF No. 299 (“KWNYC Br.”), at 1 (Keller
Williams, NYC LLC has not adopted and is not subject to NAR’s rules, handbooks, or code of
ethics and the “the claims asserted against KWNYC in the March case do not predicate liability
upon any NAR rule, but rather, upon liability for rules promulgated by [REBNY and RLS]”); ECF
No. 270, at ¶¶ 5-7 (Level Group “has no affiliation with the National Association [of] Realtors”
and “does not use, and has not adopted, the NAR Rules, the NAR Handbook on Listing Policy, or
the NAR Code of Ethics” and the REBNY litigation “is premised on REBNY’s and RLS’s own
rules and does not implicate NAR Rules”).


                                                5
            Case MDL No. 3100 Document 384 Filed 02/13/24 Page 10 of 22




seller negotiates to reduce the amount of commission he/she pays after a property is listed on the

RLS, the seller’s broker “‘must absorb the full amount of the commission reduction.’” Id. ¶ 56.8

       The presumptive 50/50 split of commissions between buyer and seller brokers under the

REBNY rules is a clear break from the NAR Rules.9 NAR rules allow for different levels of

compensation to a seller’s broker and a buyer’s broker based on the seller’s assessment of the

relative value of services to be provided by the brokers. Sellers do not have that option under

REBNY’s default rule, which brokers in the REBNY Cases employ universally. Friedman Compl.

¶¶ 66-71. Indeed, independent studies have shown that the REBNY rules produce greater

overcharges than the NAR rules in New York City. Buyer broker commissions in REBNY

dominated areas are nearly universally 2.5% - 3%, id. ¶¶ 36, 71, 114, whereas buyer broker

commissions in areas of Brooklyn and Queens outside of REBNY’s dominance—that are instead

influenced by a NAR MLS (OneKeyMLS)—are significantly less, averaging 1.5%, id. ¶ 83 n.24.

       D.      There is no overlap between the putative classes in the NAR actions and the
               REBNY Cases.

       The Movants seek to represent sellers of homes that were “listed on an MLS,” which

necessarily is limited to listings and sales made pursuant to NAR’s rules. See Umpa Compl. ¶ 161;

Gibson Class Action Compl. (“Gibson Compl.”) ¶ 151. The REBNY Cases, by contrast, concern

sellers of homes that were listed on the RLS and sold pursuant to REBNY rules. See March Class


   8
     Although NAR rules forbid sellers from unilaterally reducing an offered commission after
receiving an offer, NAR lacks this punitive enforcement mechanism that disincentivizes seller
brokers from reducing the commission at any time. See Umpa Compl. ¶ 6.
   9
     Moreover, submissions by certain defendants in the REBNY Cases here preview factual issues
and defenses pertaining only to the REBNY Cases. See, e.g., REBNY Br. at 3-4, 8 (pointing to
factual differences concerning the market for cooperatives and condominium apartments that are
more prevalent in New York City); BHS Br. at 5 (noting that unlike NAR, “REBNY allows each
brokerage firm to create its own form governing exclusive listings of residential property in
Manhattan”); KWNYC Br. at 6-7 (previewing likely defense regarding language in the REBNY
Rules addressing the default 50-50 split of commissions that is not present in the NAR rules).


                                                6
             Case MDL No. 3100 Document 384 Filed 02/13/24 Page 11 of 22




Action Compl. (“March Compl.”) ¶ 112 (defining class to include only sellers “that sold Manhattan

residential real estate . . . in accordance with [REBNY’s] Rules”); Friedman Compl. ¶ 132

(defining class as sellers “that sold residential real estate in REBNY Brooklyn . . . and paid a Buyer

Broker commission in accordance with the REBNY Rules”). Transactions on the RLS are subject

only to REBNY rules, not NAR rules. See Friedman Compl. Ex. A (“Use of the RLS is conditioned

on agreement and compliance with these Rules and Regulations”), ¶ 83 n.24. Accordingly, on

their face, none of the home sales at issue in the REBNY Cases are covered by the putative classes

in Umpa and Gibson.

        E.      After more than four years of litigation in separate cases concerning NAR
                rules, Movants seek to centralize and consolidate all buyer broker commission-
                related antitrust litigation, no matter the facts.

        More than four years ago, Movants’ counsel filed the first antitrust class action against

NAR and certain brokerage firms, challenging NAR’s commission rule in several of NAR’s MLSs

in select regions around the country. Class Action Compl., Moehrl v. Nat’l Ass’n of Realtors,

No. 1:19-cv-01610 (N.D. Ill. Mar. 6, 2019) (“Moehrl Compl.”), ¶ 12.                Other complaints

challenging the same NAR-specific rules in other regions followed.10

        Upon receiving a favorable jury verdict in Burnett, Movants filed a nationwide class action

in the Western District of Missouri against NAR and major real estate brokerage firms on behalf

of anyone in the United States who sold a home “listed on an MLS, and who paid a commission

to the buyer’s broker[.]” Gibson Compl. ¶ 151. The Gibson Compl. does not mention REBNY.




   10
      See, e.g., Class Action Compl. ¶ 22, Burnett v. Nat’l Ass’n Realtors, No. 19-cv-332 (W.D.
Mo., filed Apr. 29, 2019), ECF No. 1 (“Sitzer Compl.”) (addressing four MLSs in the Midwest);
Compl. ¶ 1, Bauman v. MLS Property Information Network, Inc., No. 20-cv-12244 (D. Mass., filed
Dec. 17, 2020), ECF No. 1 (addressing a single MLS operating in Massachusetts).


                                                  7
                  Case MDL No. 3100 Document 384 Filed 02/13/24 Page 12 of 22




             Two months later, Movants filed a second nationwide class action in the Western District

of Missouri against NAR and major real estate brokerage firms with the exact same class

definition. Umpa Compl. ¶ 161. The Umpa complaint devotes a single bullet point to REBNY,

fails to name REBNY as a defendant, and concedes that REBNY’s RLS is not an MLS (but instead

“MLS-like”) and was not controlled by or affiliated with NAR. Id. ¶ 110.

             That same day, Movants moved to centralize certain buyer broker commission litigation

before the Burnett court, including one of the REBNY Cases (March). See ECF No. 1.

             F.      NAR seeks to centralize the REBNY Cases in the Northern District of Illinois,
                     despite having admitted that REBNY has nothing to do with NAR.

             On January 26, 2024, NAR filed a response to Movants’ motion, opposing centralization

in the Western District of Missouri, and moving to centralize all buyer broker-related antitrust

litigation in the Northern District of Illinois, including the REBNY Cases. ECF No. 295. None of

the pending actions in the Northern District of Illinois even mentions REBNY, much less names it

as a defendant. In fact, in Moehrl, NAR correctly stated that REBNY and the RLS are “unaffiliated

with NAR,”11 and that the RLS is “not governed by the rules at issue in this case.”12

III.         ARGUMENT

             The MDL transfer statute, 28 U.S.C. § 1407, states that transfer is only appropriate where:

(1) “common questions of fact” exist between the actions; (2) transfer “will be for the convenience

of parties and witnesses”; and (3) transfer “will promote … just and efficient conduct.” 28 U.S.C.

§ 1407(a). Applying these factors here weighs strongly in favor of rejecting both Movants’ request

to centralize the REBNY Cases in the Western District of Missouri and NAR’s request to centralize

the REBNY Cases in the Northern District of Illinois.


       11
            Moehrl, ECF No. 325 at 16.
       12
            Moehrl, ECF No. 325-2 at ¶ 68 (emphasis added).


                                                      8
            Case MDL No. 3100 Document 384 Filed 02/13/24 Page 13 of 22




       A.      There are no common questions of fact between the cases involving NAR rules
               and the REBNY Cases.

       Judicial Panel on Multidistrict Litigation authority is crystal clear that actions requiring

substantially distinct discovery do not share common questions of fact. See, e.g., In re Baby Food

Mktg., Sales Pracs. & Prod. Liab. Litig., 544 F. Supp. 3d 1375, 1376 (J.P.M.L. 2021); Secondary

Ticket Mkt. Refund Litig., 481 F. Supp. 3d 1345, 1346 (J.P.M.L. 2020); In re: Credit Card Payment

Prot. Plan Mktg. & Sales Pracs. Litig., 753 F. Supp. 2d 1375 (J.P.M.L. 2010). That is precisely

the case here: the REBNY Cases require fundamentally different proof than the Umpa, Gibson, and

Moehrl actions.

        Umpa, Gibson, and Moehrl require proof that (i) the defendants participated in the alleged

conspiracies by promulgating broker policies and/or other conduct enforcing NAR rules on MLSs

that by definition do not apply to the RLS; and (ii) the effects of NAR rules on MLSs were

anticompetitive. Umpa Compl. ¶¶ 92, 112, 122-138, 140; Gibson Compl. ¶¶ 1-3, 7, 87, 97-102,

117, 150; Moehrl Compl. ¶¶ 3-4, 7, 18, 94-122. In contrast, the REBNY Cases require proof that

(i) the defendants participated in the alleged conspiracy by agreeing to adhere to the REBNY rules

as a condition of transacting on the RLS—a condition imposed by REBNY, not any broker policies;

and (ii) the effects of REBNY rules on the RLS in specific areas of New York City were

anticompetitive. See March Compl. ¶¶ 6, 7, 9, 14, 60, 71, 102-107, 110; Friedman Compl. ¶¶ 1,

34-40, 53, 101-112, 125 & n.24.

       Although Movants and NAR tout superficial overlap between Umpa, Gibson, Moehrl, and

the REBNY Cases, in that they all involve alleged antitrust conspiracies to inflate buyer broker

commissions, that is far from sufficient to warrant centralization. Baby Food, 544 F. Supp. 3d at

1376; Secondary Ticket, 481 F. Supp. 3d at 1346; Credit Card Payment, 753 F. Supp. 2d at 1375.




                                                9
          Case MDL No. 3100 Document 384 Filed 02/13/24 Page 14 of 22




Movants and NAR assert various purported common factual questions, including whether the

defendants “entered into an agreement or conspiracy,” “possess market power,” “engage in or

promote steering,” “inflat[ed] total commissions and buyer broker commissions,” and whether

“the competitive harm from the conspiracy outweighs any competitive benefits.” See Movants’

Br. at 7-8. Not only are these purported common questions overly broad and fail to account for

the critical differences in proof detailed above, they are legal questions, not factual ones, that

provide no support for centralization. See, e.g., In re SFPP, LP, R.R. Prop. Rights Litig., 121 F.

Supp. 3d 1360, 1361 (J.P.M.L. 2015); In re Fed. Hous. Fin. Agency, et al., Preferred Stock

Purchase Agreements Third Amend. Litig., 190 F. Supp. 3d 1356, 1357 (J.P.M.L. 2016) (“common

legal, rather than factual, questions” do not support centralization); In re: Nat’l Ass’n for

Advancement of Multijurisdictional Prac. Litig., 52 F. Supp. 3d 1377, 1378 (J.P.M.L. 2014)

(denying a motion for centralization and finding that “[w]hile each action focuses on the

constitutionality of restrictions on attorney admission contained in each court’s local rules, these

common legal questions are insufficient to satisfy Section 1407’s requirement of common factual

questions”). Indeed, these questions would be common across any alleged antitrust conspiracy

involving buyer broker commissions, irrespective of the facts.

       Moreover, Movants’ assertion that defendants in the REBNY Cases who are members of

both REBNY and NAR are somehow influenced by NAR and its rules even when transacting on

the RLS is wholly unsupported. Movants’ Consolidated Reply in Supp. of Mot. for Transfer of

Actions to the Western District of Missouri Pursuant to 28 U.S.C. § 1407 for Coordinated or

Consolidated Pretrial Proceedings, ECF No. 350 at 10-11; Umpa Compl. ¶ 110. The REBNY Cases

make clear—through well-pled allegations that were the result of an extensive pre-filing

investigation—that the REBNY rules exclusively govern RLS transactions, and defendants who




                                                10
             Case MDL No. 3100 Document 384 Filed 02/13/24 Page 15 of 22




are members of both NAR and REBNY unequivocally agree. Supra at 4-7. Movants’ citation to

the plaintiffs’ expert report in Moehrl—finding that certain MLSs not fully controlled by NAR

were nonetheless influenced by NAR and its rules—does not move the needle because those listed

MLSs did not include REBNY or RLS. Compare ECF No. 350 at 11 n.1 with Moehrl, ECF.

No. 324-6, at ¶¶ 398–420.13 Indeed, NAR itself stated in Moehrl that REBNY and the RLS are

“unaffiliated with NAR,” supra at 8, and that RLS transaction are “not governed” by NAR rules.

Moehrl, ECF No. 325-2 at ¶ 68. It is truly perplexing that NAR now deems the REBNY Cases

related.

           Movants also assert that there is factual overlap because the REBNY rules are functionally

similar to the NAR rules and therefore have similar anticompetitive effects. ECF No. 350 at 11-

12. This is exactly the type of superficial similarity that fails to merit centralization. Functionally

similar rules and anticompetitive effects are not the same rules and anticompetitive effects; as

detailed above, each set requires different proof. See In re: Yellow Brass Plumbing Component

Prod. Liab. Litig., 844 F. Supp. 2d 1377, 1379 (J.P.M.L. 2012) (“significant localized intervening

causation issues” defeat centralization).

           Movants fail to acknowledge the REBNY rule imposing a mandatory 50/50 default

commission allocation between the buyer and seller broker, which has no analogue under NAR

rules, and yields far greater anticompetitive effects. Supra at 5-6. Movants also cite to a REBNY

rule discouraging commission negotiation between a seller and her broker because the broker

“must absorb the full amount of the commission reduction,” but fail to acknowledge that the


    13
      On rebuttal, he admitted that had “not found any data on the extent to which RLS members
were REALTORS®,” and therefore had no ability to analyze NAR’s influence on REBNY beyond
a single corporate defendant cited by NAR’s expert “who required all its brokers and agents to
comply with” NAR Rules, but does not transact on the RLS. Compare Moehrl, ECF No. 372 at
¶ 36 with Moehrl, ECF No. 325-2 at ¶¶67-68.


                                                   11
           Case MDL No. 3100 Document 384 Filed 02/13/24 Page 16 of 22




punitive measure in the REBNY rules requiring the seller’s broker to absorb the reduction does

not exist in NAR rules. See id. The effects of these two different sets of rules will therefore

therefore require different proof. See In re CVS Caremark Corp. Wage & Hour Emp. Pracs. Litig.,

684 F. Supp. 2d 1377, 1379 (J.P.M.L. 2010) (where “discovery in each action is likely to involve

individualized, location-specific examination of things,” the “potential for significant individual

discovery tilts the balance against centralization”).

       Movants have acknowledged this difference in the past. Their own expert in Moehrl

performed a separate analysis of the REBNY rules—which NAR was then pressing as an

“alternative benchmark” to defeat causation—and found that they had “enhanced the

anticompetitive effects” relative to the NAR rules and “accentuated the linkage between seller-

broker and buyer-broker commission levels.” Moehrl, ECF No. 372 at ¶ 68. The REBNY rules’

“enhanced” anticompetitive effects is confirmed by an independent study finding that buyer broker

commissions are far more inflated in New York City when transacting under the REBNY rules, as

opposed to the NAR rules. Friedman Compl. ¶ 83 n.24. Thus, not only will anticompetitive effects

require different proof in the REBNY Cases, so will damages.

       Finally, Movants point out that a REBNY rule requiring that any changes to buyer broker

commissions be entered into the RLS “functionally” amounts to a blanket offer, while the plain

language of the NAR rules expressly requires a blanket offer.         ECF No. 350 at 11.       But

demonstrating that REBNY rules effectively require blanket offers is a distinct issue. Indeed,

Movants acknowledge that certain defendants in the REBNY Cases here dispute whether the

REBNY rules effectively require blanket offers, in contrast to NAR rules that explicitly require

them. ECF No. 350 at 11; see also REBNY Br. at 6 (asserting that, unlike the NAR rules, the

REBNY rules “expressly acknowledge[] that offers of compensation to buyer’s brokers may be




                                                 12
            Case MDL No. 3100 Document 384 Filed 02/13/24 Page 17 of 22




negotiated amongst the parties to an Exclusive Listing Agreement or in a separate written

agreement between an owner of real estate and their Exclusive Broker.”). While Plaintiff Friedman

disagrees with REBNY’s characterizations, these disputes are unique to the REBNY Cases.

       In sum, asking this Panel to consolidate the REBNY Cases with the NAR actions is akin to

seeking to consolidate price-fixing actions concerning beef, chicken, pork, and turkey simply

because they involve similar price-fixing conspiracies among meat suppliers in the meat industry,

or to consolidate all reverse payment actions because they involve reverse payments between drug

companies in the pharmaceutical industry. There may be overlapping defendants and superficial

similarity at a high level, but there is no common discovery. Cases alleging unrelated conspiracies

cannot be centralized and consolidated simply because they involve facially similar conduct in the

same industry. See, e.g., In re: Google Play Store Simulated Casino-Style Games Litig.,

544 F. Supp. 3d 1364, 1365-66 (J.P.M.L. 2021) (centralizing cases involving casino style apps in

the Google app store but not similar cases involving the Apple App Store); In re Hotel Industry

Sex Trafficking Litig., 433 F. Supp. 3d 1353, 1355 (J.P.M.L. 2020) (refusing to consolidate cases

alleging separate conspiracies in the hotel industry across the country in different locations despite

“broad similarities”); In re Credit Union Checking Acct. Overdraft Litig., 158 F. Supp. 3d 1363,

1364 (J.P.M.L. 2016).

       B.      Convenience of Parties and Witnesses Weighs Heavily Against Transfer

       Convenience of the parties and witnesses under 28 U.S.C. § 1407(a) looks to factors such

as the location of likely witnesses and relevant evidence, including the location of the defendants’

headquarters and where the alleged misconduct occurred. See In re: Facebook, Inc., Consumer

Privacy User Profile Litig., 325 F. Supp. 3d 1362, 1364 (J.P.M.L. 2018) (centralizing cases in N.D.

Cal., “where Facebook is headquartered”).        Centralization in either the Western District of




                                                 13
          Case MDL No. 3100 Document 384 Filed 02/13/24 Page 18 of 22




Missouri or Northern District of Illinois is plainly inconvenient for the parties and witnesses in the

REBNY Cases.

        First, all 18 defendants in Friedman, and 24 of the 28 defendants in March, are

headquartered in or near New York City.14 Friedman Compl. ¶¶ 9-26; March Compl. ¶¶ 19-44.

REBNY, which is at the heart of the alleged conspiracy in the REBNY Cases, is headquartered in

Manhattan. And none of the named plaintiffs in March and Friedman reside in the Western District

of Missouri or the Northern District of Illinois.

        Second, the conduct at issue in the REBNY Cases occurred only in New York City.

Friedman Compl. ¶¶ 2-6, 36-82, 101-27, 132, 137; March Compl. ¶¶ 14, 47, 51-71, 101-07, 110,

112. REBNY unequivocally states that it “operates only in the five boroughs of New York City”

and that RLS is a “non-traditional listing service operated by REBNY that covers only New York

City.” REBNY Br. at 1-2.

        Third, a cornerstone of the REBNY Cases is the REBNY rules’ and RLS’s alleged

dominance over specific areas of New York City (Manhattan and REBNY Brooklyn). Friedman

Compl. ¶¶ 101-11; March Compl. ¶¶ 101-07. The alleged misconduct occurred only in New York

City.

        Accordingly, witnesses and document discovery relevant to the REBNY Cases will be

overwhelmingly, if not exclusively, located in New York City. Movants’ concern about managing

purportedly “common” or “duplicative” discovery (see Movants’ Br. at 8-9) simply does not and

cannot apply to the REBNY Cases. Uprooting the REBNY Cases from their only logical venue—


   14
      Defendant The Agency IP Holding Co. was misnamed, and the parties are in the process of
substituting in a properly named New York-based defendant. The small minority of defendants in
March headquartered in other locations nonetheless maintain significant presences in New York
City where they operate as REBNY members, agree to abide by the REBNY Rules, and list
properties for sale on the RLS. March Compl. ¶¶ 20-21, 27, 30, 36, 41.


                                                    14
             Case MDL No. 3100 Document 384 Filed 02/13/24 Page 19 of 22




the Southern District of New York—and forcing the parties to litigate halfway across the country

is the opposite of convenient and squarely contravenes bedrock principles for transfer under

Section 1407.15

        C.      Centralizing the REBNY Cases with the NAR actions would not be just or
                efficient.

                1.     The plaintiffs in the REBNY Cases are Not Members of Any Current
                       Settlement Class That Might Favor Consolidation.

        Movants and NAR erroneously contend that the need for oversight and administration of

the settlements with two defendants in the Burnett and Moehrl litigation warrants transfer to the

Western District of Missouri or the Northern District of Illinois. See Movants’ Br. at 2, 11-12;

NAR Br. at 5-6, 19-20.16 Movants’ and NAR’s position is belied by the plain language of those

settlements, which does not apply to the claims brought in March and Friedman. Both settlements

referenced by Movants define the “Settlement Class” in identical terms:

                18. “Settlement Class” means the class of persons that will be certified by
                the Court for settlement purposes only, namely all persons who sold a home
                that was listed on a multiple listing service anywhere in the United States
                where a commission was paid to any brokerage in connection with the sale
                of a home in the following date ranges:

                a. Moehrl MLSs: March 6, 2015 to date of notice;

                b. Burnett MLSs: April 29, 2014 to date of notice;



   15
      Cf. In re Deere & Co. Repair Servs. Antitrust Litig., 607 F. Supp. 3d 1350, 1351 (J.P.M.L.
2022) (transferring to district “reasonably nearby” defendant headquarters, and thus relevant
witnesses and documents); In re: Credit Default Swaps Antitrust Litig., 978 F. Supp. 2d 1374, 1375
(J.P.M.L. 2013) (transferring case to district with “a strong connection” to the litigation where
“most defendants are based,” a “significant number” of class members resided, and material events
occurred).
   16
       One of those defendants, RE/MAX, LLC, is one of the 28 Defendants in March, and the
other, Anywhere Real Estate, Inc. (“Anywhere”), is one of the 18 Defendants in Friedman.
Anywhere also is a global franchiser and parent company of two Defendants in March and
Friedman: Corcoran and Sotheby’s.


                                                15
          Case MDL No. 3100 Document 384 Filed 02/13/24 Page 20 of 22




               c. MLS PIN: December 17, 2016 to date of notice;

               d. All other MLSs: four years prior to (i) the date a new amended
               complaint (if any) is filed in the Actions reflecting any MLSs aside
               from the Moehrl MLSs, Burnett MLSs, and MLS PIN or (ii) the date
               of notice, whichever is earlier, up to the date of notice.

Burnett, ECF No. 1192-3 (“Anywhere Settlement Agreement”) at ¶ 18; Burnett, ECF No. 1192-4

(“RE/MAX Settlement Agreement”) at ¶ 18).17

        Unlike the terms “Moehrl MLSs,” “Burnett MLSs,” and “MLS PIN,” which are defined

terms in the Settlement Agreements referring to specific MLSs that were at issue in each of those

separate actions (see Anywhere Settlement Agreement and RE/MAX Settlement Agreements at

¶¶ 2, 10-11), the term “All other MLSs” is not defined in the Settlement Agreements. But as

explained above, the term “MLS” has a specific meaning that is tied to NAR control of a listing

service through local NAR-affiliated associations and/or NAR members who are subject to NAR’s

rules—indeed, NAR’s central role in certain MLSs is a key issue in the ongoing NAR litigation

and in the context of the settled claims. See, e.g., Umpa Compl. ¶¶2-3, 9, 57, 60-67.

        The March and Friedman Plaintiffs who sold their Manhattan and Brooklyn properties over

the RLS are plainly not part of any proposed settlement class because they were not and could not

have been damaged as a result of a NAR-controlled conspiracy involving NAR rules applied by

NAR member “Realtors” who were obligated to follow those rules in a NAR-controlled MLS. It

is therefore unsurprising that neither settlement makes any mention of REBNY or the RLS.




   17
      The RE/MAX Settlement also adds, at the end of the definition, an additional sentence: “For
avoidance of doubt, Plaintiffs and RE/MAX intend this Settlement Agreement to provide for a
nationwide class with a nationwide settlement and release.” RE/MAX Settlement Agreement at
¶ 18. This token and meaningless attempt to broadly expand the definition of “All other MLSs”
does not and cannot sweep up the claims asserted in March (Friedman does not name RE/MAX
as a defendant) involving REBNY and the RLS for the reasons described herein.


                                               16
          Case MDL No. 3100 Document 384 Filed 02/13/24 Page 21 of 22




       As detailed above, REBNY and RLS are not affiliated with NAR; the REBNY rules that

bind REBNY members are distinct from the rules applicable to NAR members operating outside

of New York City; and RLS is not an MLS. See supra at Sections II.B- D and III.A. The plaintiffs

in the REBNY Cases are therefore not subject to any proposed settlement that would necessitate

transfer to the Western District of Missouri or the Northern District of Illinois. In re: Unilever

Aerosol Prods. Mktg., Sales Practices, & Prod’s Liab. Litig., No. MDL 3068, 2023 WL 2875972,

at *1 (J.P.M.L. Apr. 7, 2023) (finding centralization inappropriate where “cases involve different

putative classes of purchasers” and products that were “regulated in different ways”).

IV.    CONCLUSION

       For the foregoing reasons, Plaintiff in the Friedman action, respectfully requests that the

Judicial Panel on Multidistrict Litigation deny Movants’ motion with respect to centralization of

the Friedman and March actions.

Dated February 13, 2024                      Respectfully submitted,

                                             BERMAN TABACCO


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                                               17
Case MDL No. 3100 Document 384 Filed 02/13/24 Page 22 of 22




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                            18
